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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 11-62606-Civ-SCOLA

  WILLIAM L. TAYLOR,

         Plaintiffs,

  vs.

  NUZZI INVESTMENT, LLC,

        Defendant.
  _____________________________________/

                  ORDER VACATING DEFAULT AND DISMISSING CASE
         THIS MATTER is before the Court upon the Stipulation to Vacate Default and to
  Dismiss with Prejudice [ECF No. 12]. Previously, on February 2, 2012, a Clerk’s Default
  [ECF No. 10] was entered against Defendant Nuzzi Investment, LLC for failing to appear or
  respond to the Complaint. It appears, however, that the parties have since reached a settlement
  and the Plaintiff now wishes to have this matter dismissed with prejudice.
         Accordingly, it is hereby ORDERED and ADJUDGED that the Clerk’s Default
  [ECF No. 10] is VACATED and this matter is DISMISSED with prejudice. The Clerk is
  directed to CLOSE this case.

         DONE and ORDERED in chambers, at Miami, Florida, on February 14, 2012.




                                                      ________________________________
                                                      ROBERT N. SCOLA, JR.
                                                      UNITED STATES DISTRICT JUDGE

  Copies to:
  Designated U.S. Magistrate Judge
  Counsel of record
  Nuzzi Investment, LLC
  3530 Mystic Pinte Dr. # 714
  Aventura, Florida 33180
